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 6                              UNITED STATES DISTRICT COURT
 7                            SOUTHERN DISTRICT OF CALIFORNIA
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 9   SONNY LOW, J.R. EVERETT and JOHN                         Case No.: 3:10-cv-00940-GPC-WVG
     BROWN, on Behalf of Themselves and                       Case No.: 3:13-cv-02519-GPC-WVG
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     All Others Similarly Situated,
11                                          Plaintiffs,       FINAL JUDGMENT
12   v.                                                       [10cv940, ECF No. 583.]
13                                                            [13cv2519, ECF No. 281.]
     TRUMP UNIVERSITY, LLC, a New
14   York Limited Liability Company, and
     DONALD J. TRUMP,
15
                                         Defendants.
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     ART COHEN, Individually and on Behalf
18   of All Others Similarly Situated,
19                                           Plaintiff,
20   v.
21   DONALD J. TRUMP,
22                                        Defendant.
23
24          WHEREAS, Plaintiffs and Defendants have entered into an Agreement, dated
25   December 19, 2016, to settle these Actions;1
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      Capitalized terms in this Final Judgment shall have the same meaning as the same defined terms in the
28   Agreement.
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 1          WHEREAS, on December 19, 2016, the Parties jointly moved this Court, pursuant
 2   to Federal Rule of Civil Procedure (“Rule”) 23(e), for an order preliminarily approving the
 3   classwide settlement of these Actions upon the terms and conditions set forth in the
 4   Agreement;
 5          WHEREAS, on December 20, 2016, the Court entered its Order (1) Granting Joint
 6   Motion for Preliminary Approval of Class Action Settlement; (2) Directing Issuance of
 7   Notice; and (3) Setting Final Approval Hearing (“Preliminary Approval Order”),
 8   preliminarily approving the Settlement, ordering Class Notice about the Settlement to be
 9   disseminated to Class Members, and scheduling a fairness hearing for March 30, 2017 at
10   1:00 p.m. (the “Fairness Hearing”), providing Class Members with an opportunity to object
11   to the proposed Settlement and be heard;
12          WHEREAS, on February 17, 2017, the Parties filed a Joint Motion for Final
13   Approval of Class Action Settlement and supporting documents (“Final Approval
14   Motion”);
15          WHEREAS, on February 17, 2017, Plaintiffs filed a Motion for Approval of Class
16   Representative Service Awards and supporting documents (the “Service Award Motion”);
17          WHEREAS, after the Parties filed supporting memoranda and other evidence, the
18   Court held the Fairness Hearing on March 30, 2017, to determine whether to grant final
19   approval to the proposed Settlement; and
20          WHEREAS, on March 31, 2017, the Court granted the Final Approval Motion,
21   finding the Agreement to be fair, reasonable, and adequate (“Final Approval Order”), and
22   on March 31, 2017, the Court granted the Service Award Motion (“Service Award Order”).
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 1         Now, therefore, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED as
 2   follows:
 3         1.     Incorporation of Other Documents. This Final Judgment incorporates and
 4   makes a part hereof:
 5                (a)   the Agreement filed with this Court on December 19, 2016, and the
 6   exhibits attached thereto;
 7                (b)   the Court’s findings of fact and conclusions of law entered on the record
 8   at the Fairness Hearing on March 30, 2017; and
 9                (c)   the Court’s findings of fact and conclusions of law contained in the
10   Preliminary Approval Order, Final Approval Order, and the Service Award Order.
11         2.     Jurisdiction. The Court has personal jurisdiction over all Parties and Class
12   Members and has subject matter jurisdiction over these Actions, including, without
13   limitation, jurisdiction over all the claims asserted in the Actions and all Released Claims;
14   jurisdiction to approve and enforce the Agreement and the exhibits thereto; and jurisdiction
15   to dismiss these Actions on the merits and with prejudice.
16         3.     Release. The Mutual Releases set forth in Section X of the Agreement is
17   incorporated herein and effective as of the date of this Final Judgment.
18         4.     Permanent Injunction. Effective as of the date of the Final Approval Order,
19   this Judgment is binding on all Parties and all Class Members and extinguishes all Released
20   Claims of Releasing Plaintiffs and Class Members and Releasing Defendants that were
21   released pursuant to the Agreement. All Releasing Plaintiffs and Class Members and
22   Releasing Defendants are hereby permanently barred and enjoined from:
23                (a)   filing, commencing, prosecuting, maintaining, intervening in,
24   participating in, conducting, or continuing litigation or otherwise, or from receiving any
25   benefits from any lawsuit, administrative, or regulatory proceeding or order in any
26   jurisdiction, based on, or relating to the Released Claims;
27                (b)   filing, commencing, or prosecuting a lawsuit as a class action, a
28   separate class, or group for purposes of pursuing a putative class action (including by
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 1   seeking to amend a pending complaint to include class allegations or by seeking class
 2   certification in a pending action in any jurisdiction) on behalf of Class Members, arising
 3   out of, based on, or relating to the claims, causes of action, facts and/or circumstances
 4   relating thereto, the Released Claims; and
 5                (c)    organizing or soliciting the participation of any Class Member in a
 6   separate class or group for purposes of pursuing a putative class action, or any claim or
 7   lawsuit, in any jurisdiction arising out of, or relating to, the Released Claims.
 8         5.     Enforcement of Settlement. Nothing in this Final Judgment shall preclude
 9   any action to enforce the terms of the Agreement or any exhibit thereto. This Final
10   Judgment, the Final Approval Order, the Service Award Order, and the Agreement may be
11   filed in any action against or by Released Plaintiffs and Class Members or Released
12   Defendants to support a defense of res judicata, collateral estoppel, release, waiver, good-
13   faith settlement, judgment bar or reduction, full faith and credit, or any other theory of
14   claim preclusion, issue preclusion or similar defense or counterclaim to the extent allowed
15   by law.
16         6.     No Admission of Liability. Neither this Final Judgment, the Final Approval
17   Order, the Service Award Order, nor the Agreement, nor any other document referred to
18   therein, nor any action taken to carry out this Final Judgment, the Final Approval Order,
19   the Service Award Order, or the Agreement is admissible as evidence for any purpose
20   against Defendants in any pending or future litigation involving the Parties, nor may it be
21   construed as, or may be used as an admission, concession, or declaration by or against
22   Defendants of the validity of any claim, nor any fault, wrongdoing, breach, or liability
23   whatsoever, and Defendants specifically deny any such actual or potential fault,
24   wrongdoing or liability. Each of the Final Judgment, Final Approval Order, Service Award
25   Order, and Agreement shall not be construed or used as an admission, concession,
26   declaration, or waiver by any party of any arguments, defenses, or claims he, she, or it may
27   have, including, but not limited to, any objections by Defendants to class certification, in
28   the event that the Agreement is terminated.
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 1         7.     The Court finds that, during the course of the Actions, the Parties, Class
 2   Counsel, and Defendants’ Counsel at all times complied with the requirements of Rule 11
 3   and all applicable rules of professional conduct.
 4         8.     Modification. The Parties are authorized, without further approval from the
 5   Court, to agree to and adopt such amendments, modifications, and expansions of the
 6   Agreement and all exhibits attached thereto that are consistent with the Final Judgment,
 7   and that do not limit the rights of Class Members under the Agreement. Without further
 8   order of the Court, the Parties may agree to reasonable extensions of time to carry out any
 9   of the provisions of the Agreement.
10         9.     Service Awards. Any order regarding Service Awards shall in no way disturb
11   or affect this Final Judgment and shall be considered separate and apart from this Final
12   Judgment.
13         10.    Retention of Jurisdiction. Without affecting the finality of this Judgment in
14   anyway, this Court expressly retains exclusive and ongoing jurisdiction as to all matters
15   relating to the administration, consummation, enforcement, and interpretation of the
16   Agreement, including, but not limited to, the funding, guarantee, and administration of the
17   Settlement Fund, and of this Final Judgment, and for any other necessary purpose,
18   including:
19                (a)    enforcing the terms and conditions of the Agreement and resolving any
20   disputes, claims, or causes of action that, in whole or in part, are related to or arise out of
21   the Mutual Releases, Released Claims, Settlement, Final Approval Order, Service Award
22   Order, or this Final Judgment;
23                (b)    entering such additional orders as may be necessary or appropriate to
24   protect or effectuate this Final Judgment, the Final Approval Order, the Service Award
25   Order, and the Agreement, dismissing all claims on the merits and with prejudice, and
26   permanently enjoining the Releasing Plaintiffs and Class Members and Releasing
27   Defendants from initiating or pursuing related proceedings, or to ensure the fair and orderly
28   administration of this Settlement; and
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 1                (c)    entering any other necessary or appropriate orders to protect and
 2   effectuate this Court’s retention of continuing jurisdiction.
 3         11.    Dismissal of Action.      The Actions, including the individual claims of
 4   Plaintiffs and Class claims resolved in them, are hereby dismissed on the merits and with
 5   prejudice without fees or costs to any Party, except as provided in the Agreement.
 6         12.    There being no just reason for delay, the Court, in the interests of justice,
 7   expressly directs the Clerk of the Court to immediately enter this Final Judgment, and
 8   hereby decrees that, upon entry it be deemed a final judgment.
 9         IT IS SO ORDERED.
10   Dated: March 31, 2017
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